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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division

R.M.S. TITANIC, INC.,
successor-in-interest to
Titanic Ventures, limited partnership,
              Plaintiff,

v.                                                                    Civil Action No. 2:93cv902

THE WRECKED AND ABANDONED VESSEL,
ITS ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A POINT
LOCATED AT 41 43’ 32’’ NORTH LATITUDE
AND 49 56’ 49” WEST LONGITUDE,
BELIEVED TO BE THE R.M.S. TITANIC
in rem,
            Defendant.

                  NOAA’S REPORT AND RECOMMENDATION
               REGARDING RMST’S MOTION TO APPROVE ASSET
           PURCHASE AGREEMENT AND TO AUTHORIZE THE SALE OF
       100% OF RMST’S STOCK TO PREMIER ACQUISITION HOLDINGS LLC.

        The United States, as amicus, and on behalf of its National Oceanic and Atmospheric

Administration (“NOAA”) which represents the public interest in Titanic,1 and pursuant to

Section VI of the Covenants and Conditions (“C&Cs”) submits this report with recommendation

to the Court regarding RMST’s request to approve the sale of 100% of its stock to Premier

Acquisition Holdings LLC (“PAHL”).




1
 NOAA is the federal agency that represents the public interest in the Titanic Collections and exercises oversight
functions in relation to the C&Cs. C&Cs (II)(K). NOAA’s role in representing the public interest in this matter is
consistent with NOAA’s authority under the 1986 RMS Titanic Maritime Memorial Act, NOAA’s 2001
Implementing Guidelines, the Agreement Concerning the Shipwrecked Vessel RMS Titanic, and Section 113 of the
Consolidated Appropriations Act, 2017.

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        I.       INTRODUCTION

        RMST has negotiated an exit from its bankruptcy proceedings in the Middle District of

Florida that includes a sale of 100% of RMST’s stock to PAHL, the Stalking Horse Purchaser,

pursuant to an Asset Purchase Agreement (“APA”).2 RMST asserts that, other than changing the

parent company, nothing about the transaction will change the corporate structure of the

company, its care and management of the artifacts, or its relationship with this Court via the

C&Cs. ECF No. 448 at 12. Accordingly, it requests that the transaction be approved, and the

sale to PAHL be authorized.

        Pursuant to the C&Cs, the procedures for designating a subsequent Trustee of the

artifacts “do not apply . . . in situations where the corporate identity of the Trustee is changed or

altered by sale, purchase, merger, acquisition, or similar transaction, the form and purpose of

which does not effectuate a change in the management, conservation and curation of the STAC

[Subject Titanic Artifact Collection].” C&Cs VI(E)(1). For the reasons set forth below, and

contingent upon certain further commitments from RMST and PAHL, NOAA recommends the

Court approve the transaction.3




2
  No other qualified bidders submitted bids as of the deadline imposed by the bankruptcy court (October 5, 2018),
thereby eliminating the need for an auction. On October 18, 2018, the bankruptcy court approved the sale of the
assets to the Stalking Horse Purchaser, consistent with the Asset Purchase Agreement, subject to the further
approval by this Court. The bankruptcy court’s order, entered October 19, 2018, was provided to this Court via
RMST’s October 22, 2018, Periodic Report.
3
  In addition to the undersigned, the following individuals were among those reviewing this matter for purposes of
NOAA’s recommendation: Jackie Rolleri, Attorney-Advisor, Oceans and Coasts Section, Office of the General
Counsel, NOAA; David W. Alberg, Superintendent, Monitor National Marine Sanctuary, NOAA; and Russell W.
Craig, Associate Chief, General Litigation Division, Office of the General Counsel, U.S. Department of Commerce.


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        II.      BACKGROUND4

        If the transaction is approved, RMST will become a wholly owned subsidiary of new

corporate parent Premier Acquisition Holdings LLC (“PAHL”), a Delaware limited liability

company with its principal place of business expected to be in Atlanta, Georgia. PAHL is owned

by Apollo Credit Strategies Master Fund, Alta Fundamental Advisors SP, LLC, and PacBridge

Partners I Investment Co., Ltd., each of which are 1/3 owners of PAHL. Apollo and Alta are

New York based companies; PacBridge is based in Hong Kong. PAHL will have five directors:

Gilbert Li (Alta’s Managing Partner) and Robert Givone (Apollo’s Managing Director), both of

New York; and Giovanni Wong (PacBridge Principal), a Canadian national living in Hong

Kong. The remaining two directors of PAHL have not been identified.

        Because the transaction is structured as a 100% stock sale, and not an asset purchase,

RMST asserts that it will continue to exist, essentially unchanged, as a separate subsidiary within

the new parent company, and will still be incorporated in Florida with its principal place of

business in Georgia. The APA supports that assertion. See APA § 3.17(c) (The transaction “will

not change, modify, amend or impair RMST’s status as Trustee or Qualified Institution of the

[STAC] and all rights, interests and privileges of RMST in the Revised Covenants and

Conditions shall remain in full force and effect following the Closing.”) The assets of other

companies under the current corporate parent, Premier Exhibitions, Inc. (“PRXI”), including




4
  This “Background” section is based upon review and consideration of: RMST’s written and documentary
responses to the undersigned’s letter dated September 14, 2018 (filed as Exhibit 3 during the September 18, 2018,
hearing), and a follow-up letter dated October 12, 2018; conversations between NOAA representatives and counsel
for RMST; NOAA’s site visit report dated March 7, 2017, and RMST’s written response to questions posed therein
(Exhibits 1 and 2 to RMST’s April 21, 2017 Periodic Report). The last of the documents and responses were
received by NOAA on October 22, 2018. RMST has stated that it have copies of the documents submitted to
NOAA for purposes of its review available for the Court.


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Premier Exhibition Management (“PEM”), will be acquired by PAHL, but those companies will

no longer exist following the transaction.5

        The makeup of RMST’s Board post-transaction, or whether any members of the current

Board will carry over, is not fully settled.6 RMST states only that its new Board post-transaction

will include “some or all of the members of the PAHL Board.” RMST further indicates that the

“expectation” is that its current Senior Management team7 will also remain in place post-

transaction, and that it anticipates making offers to this team, subject to further consideration of

“these and similar operations-related considerations” post-transaction. RMST was not able to

state whether any such offers had been made to date.

        RMST also represents that it agrees to the following:

        -    That, as the Trustee, RMST would continue to be subject to the in personam

             jurisdiction of this Court for oversight and enforcement of the C&Cs;

        -    That, “consistent with past practice,” RMST would continue to abide by the C&C’s

             provisions concerning the management, conservation and curation of the Titanic




5
 PRXI is the lessee of the company’s Atlanta, Georgia facility, and PEM is the lessee for the location of the
permanent exhibitions in Las Vegas (Luxor) and Orlando (International Plaza). Each of these leases provides for the
successor, PAHL, to assume the benefits and burdens of the leases, and the Asset Purchase Agreement provides for
PAHL to assume “all obligations and liabilities of the Sellers.” PEM also has an intra-company agreement with
RMST for PEM to perform certain services, to include exhibition management services and “all necessary and
customary conservation and preservation work on the Titanic Artifacts . . . in accordance with any applicable
covenants and conditions . . . .” ECF No. 383 (Ex. C). The APA contemplates and RMST has confirmed that all
existing contractual relationships will continue until closing, at which time the obligations will be assumed by
PAHL. APA §§ 1.1(a)(vi), 5.1(a). For consistency, this report will refer to RMST as the lessee even though the
actual lessee may be PRXI or PEM currently, and PAHL should the transaction be approved.
6
 RMST’s current Board consists of Daoping Bao, Executive Chairman; Mark Bains, Audit Chairman; Douglas
Banker, Director; Guo Ding, Compensation Committee Chair; Sid Dutchack, Governance and Nominating
Committee Chair; and Rick Kraniak, Director.
7
 The current Senior Management Team consists of Daoping Bao, President and Chief Executive Officer; Jerome
Henshall, Chief Financial Officer; and Jessica Sanders, Corporate Secretary.


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             Collections (as defined in the C&Cs)8 in accordance with internationally recognized

             museum standards and practices, and the C&Cs; and

         -   That, “consistent with past practice,” RMST would continue to abide by the

             “applicable provisions” of the C&Cs regarding NOAA’s oversight of its operations

             and continuing access to the Titanic Collections.

See also APA §§ 3.17(a) and (b) (acknowledging RMST’s compliance with the C&Cs and its

status as the Trustee and a Qualified Institution); § 3.17(c) (noting that the transaction “will not

change, modify, amend or impair RMST’s status as Trustee or Qualified Institution” and that the

C&Cs “shall remain in full force and effect following the Closing.”) RMST also indicates that

“PAHL acknowledges that it is [] ‘on notice of the restrictions contained’ in the C&Cs [and]

intends for NOAA to consider this document [RMST’s October 22, 2018 due diligence response]

a formal acknowledgment of such notice, and PAHL’s intent for RMST to continue to operate in

conformance with the C&C’s as they apply.”

         NOAA asked several questions concerning RMST’s commitment to maintaining the

Titanic Collections together as an “integral whole for posterity.” RMST indicates that it would

“continue to maintain the Titanic Collections in accordance with the C&Cs . . . consistent with

past practice,” and that it has no “current plans to sell or disperse the French Artifacts.”

         RMST continues to maintain its Atlanta-area facility, which was the subject of a site visit

on January 9, 2017. RMST’s current lease extension for the Atlanta facility runs through March

31, 2019. RMST indicates that it does not expect to relocate from this facility. Based on




8
  The “Titanic Collections” is defined to mean “the total assemblage of the French Titanic Artifact Collection and
the Subject Titanic Artifact Collection.” C&Cs I(H).


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information provided, approximately 3,419 artifacts are located at the Atlanta facility, with an

additional 1,006 pieces of coin and paper currency located in a bank vault in Atlanta.

       At the time of the January 2017 visit to the Atlanta facility, NOAA concluded that the

facility was “stable and in compliance with acceptable museum standards” for artifact storage

and conservation. RMST represents that there have been no changes to the facility since the site

visit that would negatively affect its ongoing ability to secure, manage and conserve the artifact

collection. NOAA has not conducted an updated site visit, but has no reason to believe that the

facility does not continue to be adequate for its purposes as documented during the 2017 site

visit. RMST indicates that under consideration for the post-bankruptcy period are proposals to

update the collections database systems ($100,000) and renovate the storage system at the

Atlanta facility ($250,000). See APA § 5.1(b) (imposing limitations on capital expenditures

during the “interim” period up to closing).

       RMST maintains permanent exhibitions at the Luxor Hotel in Las Vegas, Nevada and the

International Plaza in Orlando, Florida. The Luxor lease, executed in March 2008, has a ten-year

initial term, with two sequential five-year option periods. By amendment, the original Luxor

lease has been extended to April 30, 2019. RMST indicates it expects to continue this lease.

Approximately 346 artifacts are located at the Luxor exhibition venue. The International Plaza

lease, executed in September 2016, has a 24-month initial lease period, with a three-year option

period, which has been exercised and now ends September 30, 2021. Approximately 140

artifacts are located at the International Plaza exhibition venue.

       RMST states that the responsibility for “overseeing security, operations and appropriate

staffing of the [permanent] venue” sites rests with “venue management, and employees of RMST

and PEM.” It is not clear whether the venues, the Luxor and International Plaza, have some role



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with security, operations and staffing in support of the exhibitions. The Lease agreements

provided by RMST do not appear to provide for such support and in some respects seem contrary

to such a conclusion.9 According to RMST, PEM separately employs “artifact specialists” who

monitor the artifacts on a daily basis and report any issues to the “venue management” and

RMST’s collections staff. Finally, RMST also states that a trained conservator visits the

permanent exhibition sites 3-4 times per year. RMST, however, did not provide further

information about the security or staffing at the permanent exhibitions (or staff training); the

qualifications or identity of “artifact specialists” or any other staff; the nature of the daily

“monitor[ing]” at the venues; how RMST addresses artifact issues; or any specific criteria by

which oversight and management of the artifacts at the permanent exhibitions is accomplished.

         In addition to the two permanent Titanic exhibitions, RMST licenses four “traveling”

exhibitions, and has some artifacts on loan to a museum. A total of approximately 1,385 artifacts

are housed at these six exhibition venues and the museum.10

         RMST’s four “traveling” exhibitions are located at: Baylor University/ Mayborn

Museum, Waco, Texas (approximately 152 artifacts; through January 2019); Yikon

Artspace/Lipont Place Richmond, British Columbia (approximately 132 artifacts; through

January 2019); Wuhan Hangu Art Gallery, Wuhan, China (approximately 301 artifacts; through

May 2019); and, JVS Group for exhibitions in Budapest, Hungary; Brno, Czech Republic;

Krakow and/or Gdansk, Poland (approximately 279 artifacts; end date TBD). RMST represents


9
 See e.g. Luxor lease § 8.4(b) (noting that tenant is responsible for all security); § 8.16(A) (requiring that Tenant
“shall staff the Premises with such number of Tenant’s employees as are reasonably required for the proper and
efficient operation thereof.”)
10
  Two leather artifacts (a leather suitcase and a leather case) are presently with David Galusha, a textile conservator
in Atlanta (see below), presumably for purposes of conservation (but RMST has not confirmed this fact). In
addition, six artifacts are located at McGuire Woods in Norfolk, Virginia to, according to RMST, “ensure the
Admiralty Court’s continuation of its constructive in rem jurisdiction.”


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that it surveys all venues prior to exhibition, and requires submission of a “Standard Museum

Facilities Report” or “Fine Arts Insurance Venue Questionnaire” in order to ensure the venues

“meet the necessary standards of exhibition and care required by the C&Cs.” RMST provides

on-site training at the venue for promoter personnel, and avers that a trained conservator visits

the venues to observe the artifacts 1-2 times per year.

         Each of the promoter agreements for these traveling exhibition venues includes a

“Production Rider” which governs in significant detail the oversight of the artifacts while in the

promoter’s possession. The Rider includes provisions covering: security of the facility and

display cases; environmental and climate specifications; labor and equipment requirements for

installation and de-installation; payment for RMST personnel for installation and de-installation;

and security and staffing requirements before, during and after the public exhibitions; and staff

training. The Rider requires the promoter to identify (among other persons), a Head of

Education; Head Curator; Head of Exhibits; Registrar; and Head of Security. The Curator (or

curator staff) is required to verify the artifacts at the beginning and end of each operating day

against an inventory log, and take and document temperature, humidity and light readings on a

daily or weekly basis, which results are provided to RMST on a weekly basis.

          Approximately 35 artifacts are held at the Ulster Folk and Transport Museum, Cultra,

Northern Ireland, a part of National Museums of Northern Ireland, on a renewable loan

agreement. The loan terms require the Museum “to take the same care of objects lent to it, in the

matter of security and safe-keeping, as is taken of objects in its own collections.”

         Current staff at RMST’s facility in Atlanta consists of Alexandra Klingelhofer, the Vice

President of Collections, and three Registrars.11 Ms. Klingelhofer is well qualified, and


11
   A Registrar typically has many responsibilities, including documentation and record keeping, tracking collections
(including those on loan/exhibition), selecting artifacts for loan/exhibition, packing and shipping artifacts that will

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possesses appropriate conservation-related credentials.12 Ms. Klingelhofer’s portfolio of

responsibilities is broad, and includes oversight of all conservation, care, curation and

management of the Titanic Collections,13 budgeting issues, and staff and contractor training and

management. RMST represents that it expects to continue to employ Ms. Klingelhofer and the

other staff identified below. The APA supports this contention. See APA § 5.5(a) (requiring

PAHL to offer employment to RMST’s employees).

           The Registrars (Laura Pasch, Jeffrey Taylor and Ivy Ying), according to RMST, each

possess post-graduate degrees, “at least fifteen years of experience caring for historic artifacts

and artistic collections, including metals and paper objects,” and have the capability to perform

all tasks necessary for artifact care “other than hands-on treatment.” The Registrars perform

various tasks, including: managing and maintaining the artifacts and archived images and videos

databases; producing high-resolution images of the artifacts; conducting research on artifacts and

Titanic passengers to add to the knowledge base; assisting with exhibition planning and logistics

(documentation, packing, installations and de-installations); and security at the Atlanta facility.

Mr. Taylor is also responsible for documenting in writing and by photography the condition of

artifacts at the end of exhibitions, and preparing condition reports for the same.

           Since the bankruptcy commenced, the Atlanta facility staff has shrunk by one Registrar

who performed similar tasks as described above. RMST indicates the duties of this Registrar

could be (and were) assumed by other staff members without issue because, during this time



be on loan/exhibition, ensuring security for artifacts in transit, installing and deinstalling exhibitions, and mitigating
risk factors to a collection such as vandalism, theft, pests, emergencies, and natural disasters.
12
     Ms. Klingelhofer possesses, inter alia, a Masters of Science in Conservation and Archaeological Site Science.
13
  “Titanic Collections” has the definition ascribed to it in the C&Cs, namely “the total assemblage of the French
Titanic Artifact Collection and the Subject Titanic Artifact Collection.” C&Cs I(H).


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period, venues booking exhibitions decreased. RMST indicates that, post-bankruptcy and in

coordination with PAHL, it will reconsider filling the open Registrar position, as well as filling a

technical position for an upgraded database system.

           RMST does not have plans to build out its in-house conservation staff beyond Ms.

Klingelhofer, but rather outsources “the vast majority of its conservation work to qualified

specialized vendors, as the collections department does not have a fully functional laboratory.”

It is not unusual in the museum community to use outside resources for conservation work.

RMST provided a listing of the three conservator companies with whom RMST regularly works.

A review of these companies’ websites suggests they have appropriate expertise and are well

qualified to perform conservation work in metals, woods, paper and textiles.14 RMST also has

two art handlers under contract who assist with installations and de-installations. A review of

those contractors’ public websites suggests that they are also well qualified to perform these

tasks.15

           RMST represents that its operational capacity to conserve, curate, and maintain the

Titanic Collections has not been degraded because of the bankruptcy; that no routine

conservation or maintenance has been foregone because of the bankruptcy; that no artifact had

been damaged because of a lapse in routine care; and that any minor issues with an artifact (such

as spot corrosion) have been treated promptly as soon as the condition was noted. See APA

§ 5.1(a) (requiring RMST to continue to conduct business during the interim period “in the

ordinary course of business consistent with past practice”).


14
  Conservation Solutions, Inc., Clinton, Maryland (https://conservationsolutionsinc.com/); Northeast Document
Conservation Center, Andover, Massachusetts (https://www.nedcc.org/); and, David Galusha/Restoration and
Preservation Services, Atlanta, Georgia (http://professionalcleaners.com/main.htm).
15
  RMST identified Andy Rock (http://arockfineart.com/arockfineart.com/Home.html) and Jon Cordova
(http://joncordova.ch/).


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        RMST indicates that it has identified a “wish list” of 50 artifacts that it would like to refer

for conservation work.16 RMST states it developed this list at the request of PAHL, which has

expressed an interest in infusing new money into the company and wanted a list of “future

goals.” RMST denies that these artifacts are degraded, but describes them as “stable, but not

fully conserved,” and that their selection for the “wish list” for conservation was “elective”

because the items would “contribute to an exhibition, or . . . were in a more fragile condition.”

(NOAA has not verified the condition of these artifacts.) RMST has not engaged a contractor for

this work, but expects to address the issue further with PAHL should the transaction be

approved.

        For 2018, RMST budgeted $737,000 for conservation, care and management of the

artifact collection.17 RMST expects 2019 to be similar. According to the budget provided to

NOAA, approximately half of the total budget goes to salaries, with the remainder towards rent,

insurance, other expenses, and contributions to the reserve account, but there is no line item

expressly for contract conservation work. RMST explains that “[c]onservation is funded as

needed . . . utiliz[ing] excess cash to retain external conservation services,” and that an advanced

line item was not included in 2018 and 2019 “because the artifacts are now stable and such work

is elective.”18 Quarterly payments to the reserve account are current, and its balance as of




16
  The list included a variety of items, including: serving bowls, platters and utensils; compass parts; telephone
handles; marble pieces; a leather travel bag and suspender ends; various metal pieces (bolts, clasps, buckles and
sconces). RMST expressly states that the number of artifacts in need of conservation “during and before the
bankruptcy has remained relatively stable.” The mere fact that there may be a queue of items at a museum in need
of conservation or care is not unusual.
17
 Prior to 2016, the budget was approximately 30% higher than currently ($1,000,000), which RMST attributed to
more staff and more exhibition bookings.
18
  RMST has been asked to provide its funding level for artifact conservation and treatment for the three years
preceding the bankruptcy filing.


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August 31, 2018, was $711,174. APA § 3.17(b) (acknowledging responsibility to pay $25,000

into the reserve account on a quarterly basis).

         III.     RECOMMENDATION

         The transaction at issue (as described in the Asset Purchase Agreement) involves a 100%

sale of RMST’s stock, whereby RMST becomes a wholly owned subsidiary of PAHL instead of

a wholly owned subsidiary of PRXI. The only issue is whether this transaction, in “form and

purpose,” “effectuate[s] a change in the management, conservation and curation of the STAC

[Subject Titanic Artifact Collection]” from its current status as a subsidiary of PRXI. Id.

(emphasis added).

         Based on the above discussion, NOAA believes that, while this process has revealed

some questions (which will be addressed in the following section), the transaction does not in

form or purpose, or in consequence, effectuate a change that negatively affects the current

management, conservation and curation of the artifacts. Accordingly, NOAA recommends the

Court approve the transaction,19 subject to RMST’s and PAHL’s commitment20 on the Court

record to the following:




19
  RMST avers that it plans to maintain its status as salvor-in-possession. Although no expedition to Titanic has
occurred since 2010, and none is currently scheduled, RMST represents that it has had been in discussions to
coordinate an expedition for “filming of the wreck site for VR [virtual reality] as well as research initiatives,” and
also placed an RMST representative on the recent EYOS expedition.
20
  Requiring PAHL’s commitment, in addition to RMST’s, to these conditions is appropriate and reasonable. First,
RMST expressly indicates that its October 22, 2018, due diligence response to NOAA was intended to reflect
PAHL’s “formal acknowledgement” of PAHL’s intent for RMST to continue to comply fully with the
C&Cs. Second, PAHL has decided to assume the intracompany agreements formerly between RMST and PEM
along with PRXI, under which, inter alia, “all necessary and customary conservation and preservation work on the
Titanic Artifacts . . . in accordance with any applicable covenants and conditions imposed by the federal court” will
occur. Third, PAHL directors are likely to make up a large portion of RMST’s Board. And finally, the C&Cs were
expressly entered into “by R.M.S. Titanic Inc., d/b/a/ Premier Exhibitions, Inc. (hereinafter “RMST”),” C&Cs I(A)
(emphasis added), and PAHL will now assume all functions of Premier Exhibitions (PRXI). The Court may also
wish to consider whether the C&Cs should be amended to reflect the change in the parent company from PRXI to
PAHL.


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      1.   RMST’s and PAHL’s consent to the in personam jurisdiction of this Court for

           purposes of their ongoing compliance with the C&Cs.

      2.   RMST’s and PAHL’s commitment to continue to abide by the C&Cs in all

           respects.

      3.   RMST’s and PAHL’s commitment to providing the Court with copies of all

           replacement or amended intra-company agreements that pertain to the care,

           preservation, conservation or curation of the artifact collections

      4.   RMST’s and PAHL’s commitment to promptly advise the Court of any change or

           alteration to the composition and makeup of RMST’s and PAHL’s Boards, and

           RMST’s Senior Management team.

      3.   RMST’s and PAHL’s commitment to promptly advise the Court of any RMST

           staffing changes, alterations and additions at any location (Atlanta, permanent and

           traveling exhibitions) of any person(s) having responsibility for the care,

           conservation, curation, management and/or security of the Titanic Collections.

      4.   RMST’s and PAHL’s commitment to continue to file Periodic Reports at intervals

           requested by the Court to advise of all other events impacting the company, and

           the care, conservation, curation, management and exhibition of the Titanic

           Collections, specifically to include reports that summarize the results of the

           “trained conservator” visits to the permanent and traveling exhibition sites.

      5.   RMST’s and PAHL’s commitment that they will provide the Court and NOAA at

           least 60 days notice of, and seek Court approval for, (i) any action that could result

           in the Titanic Collections (as defined in the C&Cs) no longer being maintained




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                   together as an integral whole,21 and (ii) any action which would pledge or

                   otherwise use in any way any artifacts as security or collateral for any purposes.

           6.     RMST’s and PAHL’s commitment to provide to the Court advanced notice of any

                   planned expeditions to the Titanic wreck site.

           IV.      ADDITIONAL RECOMMENDATIONS

           Consistent with its ongoing oversight responsibilities as set forth in Section V of the

C&Cs, NOAA makes the following additional recommendations.22

           A. Adjustments to the Reserve Account.

           NOAA recommends that the Court and RMST consider adjusting the end endowment

value of the reserve account, and/or the quarterly contribution amount, to better reflect current

circumstances and to ensure the long-term protection of the Titanic Collections.

           The C&Cs established a reserve account pledged as a performance guarantee for the

protection of the Titanic Collections. C&Cs V(D)(2). The quarterly payment initially

established ($25,000) was intended to ensure that “within twenty-five (25) years from the date

[of the C&Cs execution]” an endowment would exist of $5,000,000 which was believed to be

adequate to generate sufficient annual income to cover the cost and expense of conserving and

curating the Titanic Collections for one year.

           As of August 31, 2018, the reserve account contains $711,174, an amount less than

RMST’s 2018 budget for “conservation-curation” ($737,000). At the present contribution rate,



21
  NOAA and RMST disagree as to whether, if at all, the C&Cs control or limit RMST’s conduct with respect to the
French Artifacts. The purpose of this contingency is not to resolve this disagreement now, but to ensure NOAA and
the Court have sufficient time to consider the issue at an appropriate time, if needed. In addition, should a situation
ever arise in which a new Qualified Institution and/or Trustee is needed to care for the Titanic Collections, NOAA
will be prepared to make recommendations to the Court regarding appropriate entities that may be able to help fulfill
such role.
22
     These recommendations are not intended to be conditions for approval of the proposed transaction.

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absent significant changes in interest rate returns, it is unlikely that the reserve account will be

fully funded for well over twenty years, and even when fully funded will not generate sufficient

income to care for the Titanic Collections for one year. Because the Court is permitted to

address these issues to accommodate “changes in circumstances and inflation,” NOAA

recommends that RMST provide a current accounting statement for the reserve account,

including how the money is invested, how much interest has been earned, and how the Court can

access the reserve account should the need to do so ever arise, and that the Court thereafter

consider an adjustment to the amount of the contribution and/or the endowment goal to ensure

sufficient funds will be in place to protect the artifacts should the need arise.

       B. Development of Collections Management Plans and Budgets.

       NOAA recommends that RMST prepare a written Plan concerning both its annual and

long-term Plan for the management of the Titanic Collections, provide for specific line item

funding for artifact conservation (beyond staff salaries) in its annual budgeting plans, and

provide specific follow up information, as described at the end of this section, concerning two

issues raised during NOAA’s review.

       RMST advised that it does not have a written plan, policy or protocol for ongoing

management of the Titanic Collections, and does not provide in its 2018 or 2019 budget a

dedicated funding line item for ongoing conservation efforts (nor has it provided information

concerning its conservation budget/expenditures (exclusive of staffing) prior to the bankruptcy).

Even within large, well-funded museums, it is not unusual that conservation needs may outpace

conservation resources to accommodate those needs, or that such needs are addressed with

outside contractors. But, artifacts recovered from the marine environment which have been

exposed to nearly a century of salt water, such as the Titanic artifacts, require ongoing

monitoring and conservation even after they have been stabilized (especially when the items are
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transported and exhibited in various climates and environmental conditions); these needs are not

elective. Museums, therefore, typically develop a collections management policy or collections

plan to actively guide collections stewardship decisions. Such a policy typically outlines the

entity’s long-term (multi-year) plan to guide decisions pertaining to, among other things,

staffing, storage, acceptable environmental conditions, access, security, disaster preparedness,

documentation, deaccessions, conservation, and artifact tracking. Many museums also have an

annual conservation strategy document, either as a stand-alone document or as part of an annual

budget. This document would outline the coming year’s plans, priorities and funding for

conservation, staffing, facilities or equipment.

       NOAA believes that implementing such a collections management plan to guide RMST’s

decision making and allocation of resources will provide more consistent protection of the

Titanic Collections, both in the Atlanta facility and on exhibition, and will facilitate NOAA’s and

the Court’s oversight role. NOAA is available to assist RMST with developing an appropriate

collections management policy/plan.

       In addition, NOAA also recommends that the Court direct RMST to provide to the Court

and NOAA follow up information on two matters: (1) RMST’s and/or PEM’s conservation

activities and expenditures on the artifacts (exclusive of salaries) for the immediately preceding

five years; and (2) specific information concerning the condition, status and conservation needs

of the 50 artifacts on RMST’s “wish list,” that RMST described as “stable, but not fully

conserved.”

       C. Providing Information Concerning Collections Care, Management and Security
          at the Permanent Exhibition Sites.

       NOAA recommends that, within a reasonable time, RMST provide the Court and NOAA

additional detail and information concerning the care, management and security of the artifact

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collections at the permanent exhibition sites, the Luxor and the International Plaza, in order to

ensure the Collections are subject to appropriate professional care at those venues.

       Without reiterating what was described in the background section, there appears to be a

contrast between the level of detail provided by RMST with respect to oversight at traveling

exhibition venues (as detailed, in part, in the Production Riders), and that described for the

permanent exhibitions at the Luxor and International Plaza. NOAA is not suggesting

inappropriate care or management at those exhibits presently exists, but only that it would

benefit the Court and NOAA to have specific information to verify that the care and oversight at

those venues comport with museum standards.

                                              Respectfully submitted,

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                                              United States Attorney


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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 24rd day of October, 2018, I will electronically file the
foregoing document with the Clerk of Court using the CM/ECF system, which will then send a
notification of electronic filing (NEF) to the following:

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